                 Case 2:12-cr-00027-GEB Document 48 Filed 05/21/12 Page 1 of 2


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 5   Attorney for RANI SINGH-LAL,
     Defendant
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                                IN THE UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                    )   No. 12-CR-0027-GEB
12                                                )
                          Plaintiff,              )   STIPULATION AND ORDER MODIFYING
13                                                )   CONDITIONS OF PRETRIAL RELEASE
            v.                                    )
14                                                )
     RANI RACHANA SINGH-LAL,                      )
15                                                )
                          Defendant.              )
16                                                )
                                                  )
17
18          It is hereby stipulated and agreed by and between the parties hereto, through their
19   respective counsel, that the special conditions of pretrial release imposed on defendant Rani
20   Rachana Singh-Lal on January 30, 2012, by The Honorable Kendall J. Newman, United States
21   Magistrate Judge, shall be modified by terminating the requirement of the electronic monitoring
22   program and, specifically, by deleting special conditions Nos. 14, 15 and 16 pertaining to home
23   confinement with electronic monitoring. This modification is requested by the Pretrial Services
24   in light of the defendant’s full compliance with all conditions of release and her full-time
25   employment.
26
27   Dated: May 14, 2012                                       /s/ Candace A. Fry
                                                              CANDACE A. FRY, Attorney for
28                                                            RANI SINGH-LAL, Defendant


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            Case 2:12-cr-00027-GEB Document 48 Filed 05/21/12 Page 2 of 2


 1
 2   Dated: May 14, 2012                           BENJAMIN WAGNER
                                                   United States Attorney
 3
                                             By     /s/ Candace A. Fry for
 4                                                 PHILP A. FERRARI, Assistant
                                                   United States Attorney
 5
                                                   (Signed for Mr. Ferrari with
 6                                                 his prior agreement)
 7
 8                                       ORDER
 9
10         IT IS SO ORDERED.
11
12               Dated: May 21, 2012
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14                                          /s/ Gregory G. Hollows
                                   UNITED STATES MAGISTRATE JUDGE
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